                                       United States Bankruptcy Court
                                         Northern District of Ohio
In re:                                                                                  Case No. 18-13708-aih
Tara M. Martin                                                                          Chapter 7
         Debtor
                                         CERTIFICATE OF NOTICE
District/off: 0647-1           User: admin                  Page 1 of 2                   Date Rcvd: Oct 04, 2018
                               Form ID: 318                 Total Noticed: 48


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 06, 2018.
db             +Tara M. Martin,    7201 Chamberlin Ave.,    Cleveland, OH 44104-1929
25514559        CMHA,   8100 Kinsman Rd.,    Cleveland, OH 44104
25514561       +CPP,   PO Box 94560,    Cleveland, OH 44101-4560
25514555       +Capital One Auto Finance,    PO Box 259407,    Plano, TX 75025-9407
25514560       +Constance Hill,    7201 Chamberlin Ave.,    Cleveland, OH 44104-1929
25514562       +Credit Acceptance Corp,    Silver Triangle Building,    25505 West Twelve Mile Road,   #3000,
                 Southfield, MI 48034-8331
25514563       +Credit Acceptance Corp.,    25505 W 12 Mile Rd.,    Southfield, MI 48034-8316
25514565        Cuyahoga County Common Pleas,    1200 Ontario Street,    Attn: Clerk of Court,
                 Cleveland, OH 44113-1678
25514566        Cuyahoga County Common Pleas,    1219 Ontario St. Justice Center,    Cleveland, OH 44113
25514572        Dominion Energy Ohio,    P.O. Box 26785,    Richmond, VA 23261-6785
25514573       +Eagle Rental Purchase,    4628 Northfield Road,    North Randall, OH 44128-4522
25514579      ++FOCUS RECEIVABLES MANAGEMENT LLC,    1130 NORTHCHASE PARKWAY STE 150,    MARIETTA GA 30067-6429
               (address filed with court: Focus Receivables Management,      1130 Northchase Pkwy,   Suite 150,
                 Marietta, GA 30067)
25514577        Fifth Third,    P.O. Box 630170,    Cincinnati, OH 45263-0170
25582358        Geico,   One Geico Plaza,    Bethesda, MD 20810-0001
25514582       +Levy & Associates,    4645 Executive Drive,    Columbus, OH 43220-3601
25514585      ++RIVER S EDGE INVESTMENT CO,    5755 GRANGER RD,    365,   INDEPENDENCE OH 44131-1455
               (address filed with court: Rivers Edge Investment Company,      17419 Broadway Ave.,
                 Maple Heights, OH 44137)
25514586       +Southwest Credit Systems, LP,    4210 INternational Pkwy,    Suite 1100,
                 Carrollton, TX 75007-1912
25514587        Spectrum/Time Warner,    P.O. Box 901,   Carol Stream, IL 60132-0901
25582359       +St Financial Asset Managment,    3091 Governors Lake Dr NW,    Norcross, GA 30071-1135

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +EDI: QSSTEIN.COM Oct 05 2018 01:58:00       Sheldon Stein,    S. Stein Company LLC,
                 50 Public Square, Suite 2200,    Post Office Box 5606,     Cleveland, OH 44101-0606
ust            +E-mail/Text: ustpregion09.cl.ecf@usdoj.gov Oct 04 2018 22:32:49         Cynthia J. Thayer,
                 US Department of Justice,    201 Superior Avenue,     Suite 441,   Cleveland, OH 44114-1234
25514550       +E-mail/Text: amscbankruptcy@adt.com Oct 04 2018 22:36:24        ADT Security Services,
                 P.O. Box 650485,    Dallas, TX 75265-0485
25514551        EDI: AFNIRECOVERY.COM Oct 05 2018 01:58:00       AFNI,    P.O. Box 3097,
                 Bloomington, IL 61702-3097
25514552       +EDI: AFNIRECOVERY.COM Oct 05 2018 01:58:00       AFNI, Inc,    P.O. Box 3427,
                 Bloomington, IL 61702-3427
25514554       +EDI: CINGMIDLAND.COM Oct 05 2018 01:58:00       AT&T Mobility,    PO Box 6416,
                 Carol Stream, IL 60197-6416
25514548       +EDI: AAEO.COM Oct 05 2018 01:58:00       Aarons Sales and Lease,    1015 Cobb Place Blvd.,
                 Kennesaw, GA 30144-3672
25514549       +EDI: ACECASHXPRESS.COM Oct 05 2018 01:58:00       Ace Cash Express,
                 1231 Greenway Drive, Suite 600,     Irving, TX 75038-2511
25514553        EDI: GMACFS.COM Oct 05 2018 01:58:00       Ally Financial,    Attn: Bankruptcy Department,
                 200 Renaissance Center,    P.O. Box 200,    Detroit, MI 48265-2000
25514556       +E-mail/Text: khorner@checkintocash.com Oct 04 2018 22:36:17        Check Into Cash,     P.O. Box 550,
                 Cleveland, TN 37364-0550
25514557       +Fax: 614-760-4092 Oct 04 2018 22:51:10       Checksmart,    15726 Broadway,
                 Maple Heights, OH 44137-2517
25514558        E-mail/Text: crandellj@cmcoh.org Oct 04 2018 22:34:59        Cleveland Municipal Court,
                 1200 Ontario St,    Justice Center,    Cleveland, OH 44113-1669
25514564       +EDI: CCS.COM Oct 05 2018 01:58:00       Credit Collection Service,     PO Box 447,
                 Norwood, MA 02062-0447
25514567        EDI: DIRECTV.COM Oct 05 2018 01:58:00       Direct TV,    Attn: Bankruptcy Dept,     PO Box 6550,
                 Englewood, CO 80155
25514568       +EDI: DIRECTV.COM Oct 05 2018 01:58:00       Direct TV,    PO Box 5007,
                 Carol Stream, IL 60197-5007
25514569       +EDI: ESSL.COM Oct 05 2018 01:58:00       Dish Network,    PO Box 105169,    Atlanta, GA 30348-5169
25514570        EDI: ESSL.COM Oct 05 2018 01:58:00       Dish Network,    P.O. Box 94063,
                 Palatine, IL 60094-4063
25514571       +EDI: DCI.COM Oct 05 2018 01:58:00       Diversified Consultants, Inc.,     P.O. Box 551268,
                 Jacksonville, FL 32255-1268
25514575       +E-mail/Text: bknotice@ercbpo.com Oct 04 2018 22:34:39        ERC,   P.O. Box 57547,
                 Jacksonville, FL 32241-7547
25514574       +E-mail/Text: bknotice@ercbpo.com Oct 04 2018 22:34:40        Enhanced Recovery,     P.O. Box 57547,
                 Jacksonville, FL 32241-7547
25514578       +EDI: AMINFOFP.COM Oct 05 2018 01:58:00       First Premier Bank,    3820 N Louise Ave,
                 Sioux Falls, SD 57107-0145
25514580       +EDI: IIC9.COM Oct 05 2018 01:58:00       IC Systems Collections,    P.O.Box 64378,
                 Saint Paul, MN 55164-0378
25514581       +E-mail/Text: key_bankruptcy_ebnc@keybank.com Oct 04 2018 22:35:04         Key Bank,
                 127 Public Square,    Cleveland, OH 44114-1226



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                                      Form ID: 318                       Total Noticed: 48


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
25514583       +E-mail/Text: ecfbankruptcy@progleasing.com Oct 04 2018 22:34:53        Progressive Leasing LLC,
                 256 West Data Drive,    Draper, UT 84020-2315
25514584       +E-mail/Text: bankruptcy@rentacenter.com Oct 04 2018 22:36:37        Rent A Center,
                 5501 Headquarters Drive,    #3FS,   Plano, TX 75024-5845
25514588        EDI: NEXTEL.COM Oct 05 2018 01:58:00      Sprint,    Attn: Bankruptcy Dept.,    P.O. Box 7949,
                 Overland Park, KS 66207-0949
25514589        EDI: NEXTEL.COM Oct 05 2018 01:58:00      Sprint,    P.O. Box 4191,    Carol Stream, IL 60197
25514590        EDI: AISTMBL.COM Oct 05 2018 01:58:00      T-Mobile,    Bankruptcy Department,     PO Box 53410,
                 Bellevue, WA 98015-3410
25514591        E-mail/Text: bankruptcy@firstenergycorp.com Oct 04 2018 22:34:28        The Illuminating Company,
                 76 S. Main St.,   Akron, OH 44308-1890
                                                                                               TOTAL: 29

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
25514576        ##Fidelity National Collections,   220 E. Main St.,    P.O. Box 2055,                        Alliance, OH 44601-0055
                                                                                                                   TOTALS: 0, * 0, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 06, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 3, 2018 at the address(es) listed below:
              John S. Cetor, Jr.   on behalf of Debtor Tara M. Martin jcetor@ohiolegalclinic.com,
               nkrenisky@ohiolegalclinic.com;rausermail@ohiolegalclinic.com;rauserlaw@gmail.com;rauser@bestclien
               tinc.com;rauserandassociates@gmail.com;rauserecfmail@gmail.com;mresar@ohiolegalclinic.com;chapter
               13cle@gmail.com;Auter
              Sheldon Stein    ssteindocs@gmail.com,
               sstein@ecf.epiqsystems.com;sheldon@steintrustee.com;kristine@steintrustee.com
                                                                                             TOTAL: 2




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Information to identify the case:
Debtor 1              Tara M. Martin                                               Social Security number or ITIN   xxx−xx−3347
                      First Name    Middle Name   Last Name                        EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                           Social Security number or ITIN _ _ _ _
                      First Name    Middle Name   Last Name
(Spouse, if filing)
                                                                                   EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Northern District of Ohio

Case number: 18−13708−aih



Order of Discharge                                                                                                          12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Tara M. Martin

                                                                           By the court: ARTHUR I HARRIS
           10/3/18                                                                       United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                            This order does not prevent debtors from paying
and it does not determine how much money, if                              any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                      debts according to the reaffirmation agreement.
                                                                          11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                 Most debts are discharged
attempt to collect a discharged debt from the                             Most debts are covered by the discharge, but not
debtors personally. For example, creditors                                all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                           personal liability for debts owed before the
or otherwise try to collect from the debtors                              debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                          Also, if this case began under a different chapter
in any attempt to collect the debt personally.                            of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                          to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                               are discharged.

However, a creditor with a lien may enforce a                             In a case involving community property: Special
claim against the debtors' property subject to that                       rules protect certain community property owned
lien unless the lien was avoided or eliminated.                           by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                             not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                         For more information, see page 2 >




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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